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                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                SAN FRANCISCO DIVISION


RICHARD KADREY, et al.,                            Case No. 3:23-cv-03417-VC

       Individual and Representative Plaintiffs,
                                                   PLAINTIFFS’ MOTION FOR RELIEF
  v.                                               FROM NON-DISPOSITIVE PRETRIAL
                                                   ORDER OF MAGISTRATE JUDGE
META PLATFORMS, INC.,                              [DKT. 351]

                                    Defendant.


                  PLAINTIFFS’ MOTION FOR RELIEF FROM NON-DISPOSITIVE PRETRIAL ORDER
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                                           MOTION

        Plaintiffs move under 28 U.S.C. § 636(b)(1)(A), Federal Rule of Civil Procedure 72(a),

and N.D. Cal. Local Rule 72-2 for relief from a non-dispositive pretrial order of a Magistrate

Judge. Plaintiffs respectfully object to and ask the Court to set aside portions of the Discovery

Order at Dkt. No. 351 issued by Magistrate Judge Thomas S. Hixson on December 20, 2024, as

set forth in the accompanying Memorandum of Points and Authorities (“Memo”). In addition to

this Motion and the Memo, the Motion is based on the relevant underlying briefing, the Proposed

Order for this Motion, the records and docket in this matter, and any oral argument the Court may

hear.




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                                              Dated: January 2, 2025

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